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                            UNITED STATES DISTRICT COURT

                                DISTRICT OF CONNECTICUT

DONNA PARRIS

  v.                                                              3:10CV1128(WWE)

CHARLES PAPPAS,
ROBIN DELANEY,
ANNA ALEXIS LLC,
NORMANDIES PARK LLC
                                         JUDGMENT

       This cause came on for consideration of plaintiff’s motions for attorney’s fees and

Recommended Ruling by the Honorable Holly B. Fitzsimmons, United States Magistrate Judge and

the Honorable Warren W. Eginton, Senior United States District Judge.

       The Court has reviewed all of the papers filed in conjunction with the motions and on

January 4, 2012, filed a Recommended Ruling to the Court to award to plaintiff Donna Parris

$112,407.00 in compensatory damages and $150,000.00 in punitive damages. On January 18,

2012 defendants filed an objection to the Recommended Ruling.

       On February 2, 2012 the Court approved and adopted the Recommended Ruling awarding

plaintiff Donna Paris $112,407.00 in compensatory damages and $150,000.00 in punitive

damages for a total award of $262,407.00.

       It is therefore ORDERED and ADJUDGED that the Recommended Ruling is approved

and adopted and the case is closed.

       Dated at Bridgeport, Connecticut, this 10th day of February 2012.

                                                   ROBERTA D. TABORA, Clerk

                                                   By            /s/
                                                        Deborah A. Candee
                                                          Deputy Clerk

Entered on Docket
